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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ELBERT BROWN, et al.,

              Plaintiffs,

v.                                               Civil Action No. 15-1380 (KBJ)

GOVERNMENT OF THE
DISTRICT OF COLUMBIA,

              Defendant.


                       DEFENDANT’S OPPOSITION TO
                    PLAINTIFFS’ MOTION TO VACATE STAY

                                 INTRODUCTION

      This case has been stayed since July 26, 2019, initially to allow the Parties to

engage in settlement discussions. On January 2, 2020, the District of Columbia (the

District) sought an extension of the stay pending resolution of the motion for

preliminary injunction (PI) in Burke v. Wiedefeld, Civil Action No. 19-3145, which

concerns one provision of the District’s Panhandling Control Act, D.C. Code §§ 22-

2301 to 22-2306 (the Panhandling Act), the same statute at issue in this case. The

Court’s stay has remained in place ever since.

      On November 24, 2020, plaintiffs moved to vacate the stay, arguing that the

“first-filed rule” should apply, that the District has failed to meet its burden of

showing a clear case of hardship or inequity if this case moves forward, and that the

District has failed to establish that continuing the stay would conserve judicial

resources. Plaintiffs are incorrect. The first-filed rule does not apply here because
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plaintiffs and the District are not parties in Burke, and lifting the stay prematurely

would not promote judicial economy or preserve the Parties’ resources. On November

30, 2020, the Court denied the PI motion in Burke, but noted that it would explain

its reasoning orally at a hearing on December 9, 2020. See Burke, Nov. 30, 2020 Order

[20]. The Court should continue to exercise its sound discretion and leave the stay in

place until 30 days after the Court provides its full oral ruling on the PI motion in

Burke. The Court should disregard plaintiffs’ proposed schedule for further

proceedings, and allow the Parties sufficient time to meet and confer. 1 Plaintiffs’

motion should be denied.

                                    BACKGROUND

      On July 26, 2019, the Parties filed a consent motion to stay litigation [75] to

allow settlement discussions. The same day, the Court granted a stay until further

order of the Court and ordered the Parties to file a joint status report by September

24, 2019, providing a proposed schedule for further proceedings. See July 26, 2019

Minute Order.

      The Parties filed a joint status report on September 24, 2019 [76], requesting

an additional stay until January 2, 2020, as the Parties continued to explore a

possible resolution. On September 26, 2019, the Court ordered the Parties to file a

further joint status report by January 2, 2020. See Sept. 26, 2019 Minute Order.




1      If the Court is inclined to vacate the stay, it should allow the Parties reasonable
time to meet and confer about discovery and any further dispositive motions briefing,
and to submit a proposed schedule for further proceedings.
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       On October 21, 2019, the plaintiff in Burke v. Wiedefeld, Civil Action No. 19-

3145, filed a motion for preliminary injunction concerning the Washington

Metropolitan Area Transit Authority’s (WMATA’s) enforcement of the Panhandling

Act, the same statute at issue in this case. On January 2, 2020, the Parties here filed

a joint status report [78], in which the District sought an extension of the stay pending

resolution of the Burke motion for PI, and plaintiffs proposed that the Court vacate

the stay and set a status conference. The Court extended the stay and ordered the

Parties to file a joint status report by April 8, 2020, detailing their efforts and progress

with respect to settlement and stating their positions on continuing the stay. See Jan.

9, 2020 Minute Order.

       The Parties filed a joint status report on April 8, 2020 [80], in which plaintiffs

asked the Court to lift the stay, and the District requested that the stay remain in

place pending resolution of the PI motion in Burke, citing also the potential effects of

the COVID-19 pandemic on discovery. On November 24, 2020, plaintiffs moved to

vacate the stay. See Pls.’ Mot. to Vacate Stay (Motion) [82]. On November 30, 2020,

the Court denied the PI motion in Burke, and stated that it would explain its

reasoning at a hearing scheduled for December 9, 2020. See Burke, Nov. 30, 2020

Order [20].

                                  LEGAL STANDARD

       Courts have broad discretion in granting stays so as to “coordinate the

business of the court efficiently and sensibly.” Landis v. N. Am. Co., 229 U.S. 248, 255

(1936). Among other things, this discretion permits a court “to stay all proceedings in

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an action pending the resolution of independent proceedings elsewhere.” Marsh v.

Johnson, 263 F. Supp. 2d 49, 52 (D.D.C. 2003) (citing Landis, 229 U.S. at 254); see

also Nat’l Shopmen Pension Fund v. Folger Adam Sec., Inc., Civil Action No. 01-01808

(RMU), 2002 U.S. Dist. LEXIS 3079, at *5-6 (Feb. 11, 2002 D.D.C. 2002) (“‘[A] trial

court may, with propriety, find it is efficient for its own docket and the fairest course

for the parties to enter a stay of an action before it, pending resolution of independent

proceedings which bear upon the case.’” (citation omitted)). The court must “‘weigh

competing interests and maintain an even balance’ between the court’s interests in

judicial economy and any possible hardship to the parties.” Belize Soc. Dev. Ltd. v.

Gov’t of Belize, 668 F.3d 724, 732 (D.C. Cir. 2012) (citations omitted) (quoting Landis,

299 U.S. at 254–55).

                                     ARGUMENT

I.    The Court Should Exercise Its Discretion and Leave the Stay in Place.

      The Court should exercise its discretion and leave the stay in place until 30

days after the Court provides its reasoning on the motion for a PI in Burke, and the

Court should then order the Parties to file a joint status report proposing a schedule

for further proceedings. Doing so will ensure the Parties are fully apprised of any

ruling relevant to the constitutionality of the Panhandling Act. Landis, 299 U.S at

255 (holding that the court has an inherent authority to “control the disposition of

the cases on its docket with economy of time and effort for itself, for counsel, and for

litigants”). The Court’s resolution of the Burke motion (and any potential appeal) may

affect the posture of this case by clarifying the issues that need to be litigated and

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informing the Parties’ positions on further settlement negotiations. As such, judicial

economy favors maintaining the stay to avoid potentially duplicative proceedings.

Estate of Gaither v. District of Columbia, Civil Action No. 03-1458 (CKK), 2005 U.S.

Dist. LEXIS 35426, at *15 (Dec. 2, 2005 D.D.C.) (“[T]he Court has an interest in

preventing … litigation that may … hamper judicial economy.”).

      First, plaintiffs assert that this case should proceed because it was filed before

Burke. Motion at 4-5. Plaintiffs attempt to invoke the so-called “first-filed rule,”

which holds that “where two cases between the same parties on the same cause of

action are commenced in two different Federal courts, the one which is commenced

first is to be allowed to proceed to its conclusion first.” Washington Metro. Area

Transit Auth. v. Ragonese, 617 F.2d 828, 830 (D.C. Cir. 1980). While the same cause

of action—a First Amendment violation—is alleged in both cases, the “first-filed” rule

does not apply here because Burke and this case are not “between the same parties,”

and the cases were not “commenced in two different Federal courts.” See Ragonese,

617 F.2d at 830.

      Second, plaintiffs contend that the District has failed to “[meet] its burden of

showing a clear case of hardship or inequity if this case moves forward.” Motion at 4.

But the Court already granted a stay over plaintiffs’ objection after the District

argued that resolution of the PI motion in Burke was necessary to inform further

proceedings here. See Jan. 2, 2020 Joint Status Report; Minute Order of Jan. 9, 2020.

Without knowing the Court’s rationale for denying the Burke PI motion, the District’s

justification remains the same. Plaintiffs’ reliance on Nat’l Indus. for the Blind v.

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Dep’t of Veterans Affairs, 296 F. Supp. 3d 131 (D.D.C. 2017), is misplaced. There, the

Court rejected the defendants’ argument that the possibility of inconsistent

judgments was a hardship because defendants failed to explain how or why

inconsistent judgments from courts in different jurisdictions should be considered

inherently problematic to the government. Nat’l Indus. for the Blind, 296 F. Supp. 3d

at 141-42. But here, both cases at issue are before this Court, and the risk is not just

one of inconsistent judgments but the need to promote judicial economy and preserve

the Parties’ resources in general, as the Parties await the Court’s reasoning on its

denial of the PI motion in Burke.

      Third, again relying on Nat’l Indus. for the Blind, plaintiffs argue that

continuing the stay would not conserve judicial resources because “there is no need

to trail the Burke case” and the panhandling statute is still being enforced. Motion at

4-5. That argument is unavailing. In Nat’l Indus. for the Blind, the Court concluded

that considerations of judicial economy did not require a stay because “there [was]

considerable uncertainty regarding whether or not the Federal Circuit [would]

actually reach the legal issue that [was] common to [the cases at issue]” but even if it

did, “the appeal that [was] pending [was] unlikely to resolve all of the issues that

Plaintiffs raise[d] in the instant consolidated matters, primarily because [the other

case] involve[d] an entirely different cause of action.” Id. at 142-43. These concerns

are not applicable here. The full resolution of the motion for PI in Burke may address

the legal issue common to these cases: the constitutionality of the panhandling



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statute—which involve the same cause of action and the same statute. There is a

clear need “to trail” the Burke motion to avoid duplicative proceedings.

II.   If the Court Lifts the Stay, Plaintiffs’ Proposed Schedule Should Be
      Disregarded.

      To the extent the Court determines not to maintain the stay in this litigation,

the schedule proposed by plaintiffs is impractical and inefficient for the following

reasons. First, it would be impractical for the Court to consider summary judgment

on a non-dispositive issue; determining whether the panhandling statute is a content-

based restriction on speech would not resolve the constitutionality of the statute. As

such, any briefing on summary judgment should encompass all issues related to the

constitutionality of the statute. Second, the Parties have not yet discussed whether

the Court should first resolve the constitutionality of the panhandling statute on

summary judgment before considering issues of class certification (issues that would

be rendered moot if the Court finds the statute constitutional). Additionally, in light

of the ongoing coronavirus pandemic, the scope and nature of any discovery in this

case could be greatly affected. As such, if the Court decides to lift the stay, it should

provide the Parties with a reasonable time in which to meet and confer and to submit

a proposed schedule to the Court.

                                    CONCLUSION

      For the foregoing reasons, the Court should deny plaintiffs’ motion to vacate

the stay.




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Dated: December 8, 2020.    Respectfully submitted,

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